10
11
12
13
14
15
16
17
1a
19
20
21
22
23
24
25
26
27

28

(;aSe 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 1 of 36 Page |D #:2

NICOLA T. HANNA

United States Attorney

LAWRENCE S. MIDDLETON

Assistant United States Attorney

Chief, Criminal Division

JOHN J. LULEJIAN (Cal. Bar NO. 186783)

Assistant United States Attorney
1200 United States Courthouse
312 North Spring Street
Los Angeles, California 90012
Telephone: (213) 894-0721
Facsimile: (213) 894-0141
E-mail: John.Lulejian@usdoj.gov

Attorneys for Applicant
UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

REQUEST FROM THE PORTUGUESE §€O§ &F\gil@€@ ga § §

REPUBLIC FOR ASSISTANCE IN A
CRIMINAL MATTER EX PARTE APPLICATION FOR ORDER
APPOINTING COMMISSIONER; EXHIBIT

 

Applicant United States of America hereby applies to this Court
§§ parte for an order, pursuant to the Instrument Between the United
States of America and the Portuguese Republic as contemplated by
Article 3(3) of the Agreement on Mutual Legal Assistance Between the
United States of America and the European Union signed 25 June 2003,
U.S.-Port., July 14, 2005, S. Treaty Doc. No. 109~13 (2006) (the
“Treaty”), aS Well as 18 U.S.C. § 3512, 28 U.S.C. § 1782, and the
principles of comity and reciprocity, and its own inherent power,
appointing Assistant United States Attorney John J. Lulejian as a
Commissioner of the Court for the purpose of obtaining evidence
sought by the Portuguese Republic (“Portugal”). This application is

made pursuant to a Request for Legal Assistance in a Criminal Matter

 

 

 

 

glass 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 2 of 36 Page |D #:3

from Portugal and is based on the aforementioned treaty and the
attached Memorandum of Points and Authorities and Exhibit.

DATED: January 25, 2019 Respectfully submitted,

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

NICOLA T. HANNA
United States Attorney

LAWRENCE S. MIDDLETON
Assistant United States Attorney
Chief, Criminal Division

/s/ John J. Lulejian
JOHN J. LULEJIAN
Assistant United States Attorney

Attorneys for Applicant
UNITED STATES OF AMERICA

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

glass 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 3 of 36 Page |D #:4

TABLE OF CONTENTS

PAGES
MEMORANDUM OF POINTS AND AUTHORITIES ............................... 1
I. BACKGROUND .................................................... 1
A. SUMMARY .......... - ........................................ 1
B. FACTS .................................................... 1
C. ASSISTANCE REQUESTED ..................................... 3
II. DISCUSSION .................................................... 3
A. THE ORDER SOUGHT IS APPROPRIATE TO ENABLE THE UNITED
STATES TO FULFILL ITS TREATY OBLIGATIONS ................. 3
1. The Treaty .......................................... 3
2. Statutory Authority ................................. 5
B. EXECUTION OF FOREIGN REQUESTS FOR ASSISTANCE UNDER THE
TREATY AND SECTION 3512 .................................. 6
1. Authorization of the Application to this Court ...... 6
2. Foreign Authority Seeking Assistance Within
Section 3512 and the Treaty ......................... 7
3. Authority of the Federal Courts Under Section
3512 ................................................ 8
C. APPOINTMENT OF A PERSON AS COMMISSIONER TO COLLECT
EVIDENCE ................................................. 9
1. Statutory Authorization ............................. 9
2. Procedures for Evidence Collection .................. 9
a. Procedures Authorized by Other Statutes ....... 10
b. Orders by the Person Appointed; Commissioner
Subpoenas ..................................... 10
c. Notice of Evidence Taking ..................... 11
d. Right to Financial Privacy Act ................ 12
111. CONCLUSION ......... . .......................................... 12

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

(;ase 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 4 of 36 Page |D #:5

TABLE OF AUTHORITIES

 

 

 

 

 

 

 

 

 

 

 

PAGE

FEDERAL CASES
Asakura V. Seattle,

265 U.S. 332 ................................................. 3-4
Barr v. U.S. Dep’t of Justice,

645 F. Supp. 235 (E.D.N.Y. 1986) ............................... 4
Barr v. U.S. Dep’t of Justice,

819 F.2d 25 (2d Cir. 1987) .................................. 4, 5
In re Comm'rs Subpoenas,

325 F.3d 1287 (11th Cir. 2003) ...................... 4, 10, 10-11
Letter of Request for Judicial Assistance etc.,

669 F. Supp. 403 (S.D. Fla. 1987) ............................. 12
Letter of Request From Crown Prosecution Serv.,

870 F.2d 686 (D.C. Cir. 1989) ............................. 10, 11
Letter of Request from Supreme Court,

138 F.R.D. 27 (S.D.N.Y. 1991) .................................. 9
Letters of Request from Supreme Court,

821 F. Supp. 204 (S.D.N.Y. 1993) ........................... 9, 12
Letters Rogatory from Tokyo Dist.,

539 F.2d 1216 (9th Cir. 1976) ................................. 11
United States v. Daccarett,

6 F.3d 37 (2d Cir. 1993) ...................................... 12
United States V. Erato (In re Erato),

2 F.3d 11 (2d Cir. 1993) ................................... 4, 11

United States V. Glob. Fishing, Inc. (In re Premises Located at 840
140th Ave. NE, Bellevue),

 

634 F.3d 557 (9th Cir. 2011) ................................... 4

White v. NFL,

41 F.3d 402 (8th Cir. 1994) ................................... 10

Young v. U.S. Dep’t of Justice,
882 F.2d 633 (2d Cir. 1989) ................................... 12

Zschernig v. Miller,

 

 

 

389 U.S. 429 (1968) ............................................ 4

ii

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Qase 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 5 of 36 Page |D #:6

TABLE OF AUTHORITIES (CONTINUED)

FEDERAL STATUTES

12 U.S.C. § 3401 (2012) ......................................... 12
18 U.S.C. § 2703 (2012) ....................................... 6, 8
18 U.S.C. § 3123 (2012) .......................................... 8
18 U.S.C. § 3512 (2012) ..................................... passim
28 U.S.C. § 1782 (2012) ..................................... passim
28 U.S.C. § 3512 (2012) .......................................... 9
FEDERAL RULES

Fed. R. Crim. P. 41 .............................................. 8
Fed. R. Crim. P. 57 ............................................. 10

iii

 

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

(;ase 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 6 of 36 Page |D #:7

MEMORANDUM OF POINTS AND AUTHORITIES

I. BACKGROUND

A. SUMMARY

Pursuant to the the Instrument Between the United States of
America and the Portuguese Republic as contemplated by Article 3(3)
of the Agreement on Mutual Legal Assistance Between the United States
of America and the European Union signed 25 June 2003, U.S.~Port.,
July 14, 2005, S. Treaty Doc. No. 109~13 (2006) (the “Treaty”; copy
of the Treaty and related documents attached hereto as Exhibit 1), as
well as the principles of comity and reciprocity, the Government of
the Portuguese Republic (“Portugal”) has asked the United States for
assistance in connection with a criminal prosecution underway in
Portugal. The Treaty provides that the United States “shall use its
best efforts to keep confidential a request and its contents if such
confidentiality is requested by the Central Authority of Requesting
State.” §e§ Ex. 1, Treaty, Annex. Art. 7. However, in this matter,
Portugal has not sought confidentiality.

Applicant United States of America respectfully requests that
Assistant United States Attorney John J. Lulejian be appointed a
commissioner of the court to carry out portions of the Request
applicable to this judicial district.l

B. FACTS

The facts of the Request may be summarized as follows:

Portuguese authorities, including the Central Criminal Section

of Portimao ~ Judge 3 ~ Judicial Court of the County of Faro, have

 

1 A copy of the Request is not attached, because nationally, the
government has ceased attaching letter of requests and mutual legal
assistance requests to its filed EX Parte Applications for Order

Appointing Commissioner.
l

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Qase 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 7 of 36 Page |D #:8

charged a number of individuals and entities for embezzlement, money
laundering, corruption, and illicit business~related offenses. The

defendants alleged to be involved in this scheme include the

following:

1. LUlS MANUEL DE CARVALHO CARITO (“CARITO”);

2. ARTUR MIGHEL TELES DE FIGUEIREDO CURADO (“CURADO”);

3. LUIS MIGUEL DE BRITO VARELA MARREIROS (“MARREIROS”);

4. CARLOS GUSATVO OLIVEIRA BRAGA BARROS (“BARROS”) ;

5. IDENTIK WORLD, SA (represented by CURADO);

6. PRODPICTURE, PORTUGAL PRODUCTIONS, SA (represented by
CURADO);

7. CINEPICTURE PORTUGAL STUDIOS, SA (represented by CURADO);

8. SPRING CLOCK, CONSULTING FOR BUSINESS AND MANAGEMENT,

UNIPESSOAL, LDA (represented by MARREIROS);

9. SIMPLIRADAR, LDA (represented by BARROS); and

10. GREEN TRACE ARCHITECTURE, LDA (represented by BARROS)
According to Portuguese authorities, between 2009 and 2012,
defendants CARITO, CURADO, and others entered into several contracts
to promote the making of movies in Portugal under the project,
“Cidade do Cinema” (Cinema City). Portuguese authorities allege that
the defendants misled investors, and others, into investing over a
million euros in the project aimed to develop Portimao, Portugal,

into a movie~making city, similar to Hollywood, California or Cannes,

France.

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 8 of 36 Page |D #:9

C. ASSISTANCE REQUESTED

With respect to the Central District of California, Portuguese
authorities need to obtain the trial testimonies of the following
witnesses by video-teleconference:2

1. Carlos De Mattos (work address in Westlake Village,

California);

2. Thomas Vitale Ottaviano, also known as “Matt Cimber”

(residential address in Thousand Oaks, California);

3. Lynn Fero (work address in Santa Monica, California);
4. Larry Sanitsky (work address in Los Angeles, California);
5. Janet Tsai Dargan (residential address in Manhattan Beach,

California); and

6. Jack Gilardi (work address in Los Angeles, California).
Applicant United States of America asks that Assistant United
States Attorney John J. Lulejian be empowered to issue compulsory
process to render that assistance as a Commissioner of this Court,
II. DISCUSSION
A. THE ORDER SOUGHT IS APPROPRIATE TO ENABLE THE UNITED STATES
TO FULFILL ITS TREATY OBLIGATIONS
1. The Treaty
The United States is seeking an order appointing a Commissioner
to execute the Request from Portugal. A treaty constitutes the law
of the land. §e§ U.S. Const. Art. VI. The provisions of a treaty
stand on equal footing with acts of Congress and are binding on the

courts. See Asakura v. City of Seattle, 265 U.S. 332, 341 (1924),

 

2 Prior to trial, the Federal Bureau of Investigation assisted
Portuguese authorities by taking statements from each of these

witnesses.
3

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Qase 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 9 of 36 Page |D #:10

amended, 44 S. Ct. 634 (1924); United States v. Schooner Peggy, 5
U.S. (1 Cranch) 103. To the extent that self-executing provisions of
a treaty are inconsistent with a preexisting statutory provision, the
treaty supersedes the statute. Zschernig v. Miller, 389 U.S. 429,
440-441 (1968); In re Premises Located at 840 140th Ave. NE,
Bellevue, Wash., 634 F.3d 557, 568 (9th Cir. 2011); In re Erato, 2
F.3d 11, 15 (2nd Cir. 1993). The Treaty obligates the United States
and Portugal to provide assistance with respect to criminal activity,
including money laundering. §e§ Ex. 1, Treaty, 1 1(a)(iii). §§e
also In re Commissioner’s Subpoenas, 325 F.3d 1287, 1290 (11th Cir.
2003). Each party contemplated that it would provide the other with
assistance generally comparable to that which is available to its own
law enforcement authorities, which assistance includes taking
testimony or statements of persons and providing documents and other
evidence. §§e Ex. 1, Treaty, Annex, Arts. 1, 3. See also Barr v. U.

S. Dep’t of Justice, 645 F. Supp. 235, 237 (E.D.N.Y. 1986), aff'd,

 

819 F.2d 25 (2d Cir. 1987). The Treaty specifically contemplates the
“use of video transmission technology . . . for taking testimony in a
proceeding for which mutual legal assistance is available of a
witness or expert located in a requested State.” Ex. 1, Treaty,
Annex, Art. 3.

The Treaty further provides that,

The United States of America shall provide assistance with

respect to money laundering and terrorist activity

punishable under the laws of both the requesting and

requested States, and with respect to such other criminal

activity as the United States of America may notify the

Portuguese Republic.

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 10 of 36 Page |D #:11

Ex. 1, Treaty, q 1(a)(iii) (emphasis added). The conduct described
in the Request constitutes an offense under the laws of the
United States. §§e id;
2. Statutory Authority
The Treaty is designed to be self-executing and requires no
implementing legislation. See In re Premises Located at 840 140th

Ave. NE, Bellevue, Wash., 634 F.3d at 568. However, because the

 

procedural provisions in many treaties are minimal, in the past,
federal courts routinely utilized procedures authorized by 28 U.S.C.
§ 1782 (the “commissioner” process) to execute treaty requests from
foreign authorities, §d; Substantive federal law regarding
searches, seizures, and other compulsory processes further grounded
the execution of such assistance requests.

On October 19, 2009, the President signed the Foreign Evidence
Request Efficiency Act of 2009, Pub. Law No. 111-79, 123 Stat. 2086,
which enacted 18 U.S.C. § 3512. Section 3512 explicitly authorizes a
federal court to:

issue such orders as may be necessary to execute a request

from a foreign authority for assistance in the

investigation or prosecution of criminal offenses, or in

proceedings related to the prosecution of criminal

offenses, including proceedings regarding forfeiture,

sentencing, and restitution.

Section 3512 directly empowers federal courts to execute such
requests and separately codifies under Title 18 the longstanding
practice and procedures employed by the United States and the federal
courts to execute requests by foreign authorities for assistance to

the fullest extent possible under United States law. Congress

5

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 11 of 36 Page |D #:12

enacted Section 3512 to make it “easier for the United States to
respond to these requests by allowing them to be centralized and by
putting the process for handling them within a clear statutory
scheme.” 155 Cong. Rec. 86807~01 (2009) (Statement of Sen.
Whitehouse).

B. EXECUTION OF FOREIGN REQUESTS FOR ASSISTANCE UNDER THE

TREATY AND SECTION 3512
1. Authorization of the Application to this Court

Section 3512 provides,

Upon application, duly authorized by an appropriate

official of the Department of Justice, of an Attorney for

the Government, a Federal judge may issue such orders as

may be necessary to execute a request from a foreign

authority for assistance in the investigation and

prosecution of criminal offenses, or in proceedings related

to the prosecution of criminal offenses, including

proceedings regarding forfeiture, sentencing and

restitution.
For purposes of Section 3512, an application is “duly authorized by
an appropriate official of the Department of Justice” when the Office
of International Affairs of the Department of Justice’s Criminal
Division has reviewed and authorized the request and is executing the
request itself or has delegated the execution to another attorney for
the government. Because of the facts and circumstances set forth in
the Request, Section 3512(c) authorizes filing the instant

application in the Central District of California,3 Accordingly, the

 

3 18 U.S.C. § 3512 provides, in relevant part:

6

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Case 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 12 of 36 Page |D #:13

Request has been referred to this district for execution.

2. Foreign Authority Seeking Assistance Within Section

3512 and the Treaty

As to the “foreign authority” making the Request, Section

3512(h) provides,

The term “foreign authority” means a foreign judicial
authority, a foreign authority responsible for the
investigation or prosecution of criminal offenses or for
proceedings related to the prosecution of criminal
offenses, or an authority designated as a competent
authority or central authority for the purpose of making
requests for assistance pursuant to an agreement or treaty
with the United States regarding assistance in criminal

matters.

In this matter the General Prosecutor is the designate Central

 

 

 

(c) Filing of requests.~~ Except as provided under
subsection (d), an application for execution of a request
from a foreign authority under this section may be filed--

(1) in the district in which a person who may be required
to appear resides or is located or in which the documents
or things to be produced are located;

(2) in cases in which the request seeks the appearance of
persons or production of documents or things that may be
located in multiple districts, in any one of the districts
in which such a person, documents, or things may be

located; or
(3) in any case, the district in which a related Federal

criminal investigation or prosecution is being conducted,
or in the District of Columbia.

(d) Search warrant limitation. -- An application for
execution of a request for a search warrant from a foreign
authority under this section, other than an application for
a warrant issued as provided under section 2703 of this
title, shall be filed in the district in which the place or
person to be searched is located.

7

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 13 of 36 Page |D #:14

Authority in Portugal for requests made pursuant to the Treaty.
Ex. 1, Treaty, j 1(a)(ii).

As evidenced by the Request itself and confirmed in the
authorization process and again by the undersigned, consistent with
Section 3512(a)(1), the foreign authority seeks assistance in the
investigation or prosecution of criminal offenses or in proceedings
related to the prosecution of criminal offenses.

3. Authority of the Federal Courts Under Section 3512

When enacting Section 3512, Congress intended that federal
courts facilitate to the fullest extent possible the execution of
requests by foreign authorities for assistance in criminal matters
and endeavored to streamline and expedite the execution of such
requests. Section 3512 authorizes federal courts to issue “such
orders as may be necessary to execute a request” and specifically
includes: orders for search warrants pursuant to Federal Rule of
Criminal Procedure 41; orders for stored wire or electronic
communications and related evidence under 18 U.S.C. § 2703; orders
for pen registers and trap and trace devices under 18 U.S.C. § 3123;
orders for the provision of testimony or other statements, or the
production of documents or other things, or both; and orders
appointing “a person” to direct the taking of testimony/statements or
the production of documents or other things, or both. §§e 18 U.S.C.
§ 3512(a)(1), (2).

The assistance requested by Portugal pursuant to the Treaty by
the Central Criminal Section of Portimao - Judge 3 - Judicial Court
of the County of Faro in the instant Request falls squarely within

that contemplated by both the Treaty and Section 3512.

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 14 of 36 Page |D #:15

C. APPOINTMENT OF A PERSON AS COMMISSIONER TO COLLECT EVIDENCE
1. Statutory Authorization

Section 3512(b) provides that a federal judge may “issue an
order appointing a person to direct the taking of testimony or
statements or of the production of documents or other things, or
both.” The statute further authorizes the person appointed to issue
orders requiring the appearance of a person, or the production of
documents or other things, or both; administer any necessary oath;
and take testimony or statements and receive documents or other
things, In keeping with past practice under 28 U.S.C. § 1782, a
federal court may appoint an attorney for the government, typically a
federal prosecutor, as “commissioner.” However, Section 3512 does
not place limits on whom “a person” might be, permitting the court to
commission a foreign authority together with an attorney for the
government. See, e.g., In re Letter of Request from the Supreme

Court Of Hong KOng, 138 F.R.D. 27, 29 (S.D.N.Y. 1991). “SinCe the

 

power of the commissioner comes from his appointment, any person who
seems appropriate to the court may be appointed commissioner.” In re
Letters of Request from the Supreme Court of Hong Kong, 821 F. Supp.
204, 211 (S.D.N.Y. 1993).
2. Procedures for Evidence Collection

Section 3512(a) specifically empowers a federal judge to issue
“such orders as may be necessary” to execute the request. This
authorization encompasses orders specifying the procedures to be used
to collect particular evidence, including procedures requested by the
foreign authority to facilitate its later use of the evidence. In
executing a request made pursuant to a treaty, a court has the

obligation to prescribe effective and expeditious procedures designed

9

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 2:19-cm-00108-L1A Document 2 Filed 01/25/19 Page 15 of 36 Page |D #:16

to promote the purpose of the treaty, See In re Commissioner’s
Subpoenas, 325 F.3d at 1305. Nothing in Section 3512 suggests any
limitation on a court’s power to exercise “complete discretion in
prescribing the procedure to be followed,” as was available under 28
U.S.C. § 1782. ln re Letter of Request from the Crown Prosecution

Serv. of the U.K., 870 F.2d 686, 693 (D.C. Cir. 1989), (quoting S.

 

Rep. NO. 88-1580 (1964), reprinted in 1964 U.S.C.C.A.N. 3782, 3789.
See White v. National Football League, 41 F.3d 402, 409 (8th Cir.
1994) (a court may issue whatever process it deems necessary to
facilitate disposition of a matter before it); Fed. R. Crim. P. 57(b)
(“A judge may regulate practice in any manner consistent with federal
law, these rules, and the local rules of the district.”).
a. Procedures Authorized by Other Statutes

In addition, Section 3512 references specific federal laws for
obtaining certain evidence and, by doing so, adopts any statutorily
mandated procedures in relation to obtaining orders for search
warrants; orders for contents of stored wire or electronic
communications or for records related thereto; and orders for a pen
register or a trap and trace device.

b. Orders by the Person Appointed; Commissioner
Subpoenas

Section 3512 authorizes the “person” appointed (here, and in
past practice under 28 U.S.C. § 1782, the “commissioner”) to issue
orders “requiring the appearance of a person, or the production of
documents or other things or both.”

The commissioner may issue a “commissioner’s subpoena,” to
obtain the requested evidence. See In re Commissioner’s Subpoenas,

325 F.3d at 1291 (incorporating in pertinent part a district court’s
10

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 16 of 36 Page |D #:17

order directing use of commissioner’s subpoenas); In re Erato, 2 F.3d
at 13~14 (same). Section 3512 expressly authorizes the service and
enforcement of such orders, or commissioner’s subpoenas, anywhere in
the United States (i.e., coextensive with the service of subpoenas in
U.S. criminal investigations and prosecutions).

c. Notice of Evidence Taking

As an initial matter, this application is being made ex parte,
consistent with the practice of the United States in its domestic
criminal matters and its prior practice on behalf of foreign
authorities under 28 U.S.C. § 1782. In re Letter of Request from the
Crown Prosecution Serv. of the U.K., 870 F.2d at 688; In re Letters
Rogatory from the Tokyo Dist., Tokyo, Japan, 539 F.2d 1216, 1219 (9th
Cir. 1976). The Treaty itself contemplates the need for
confidentiality with respect to all aspects of the execution of
requests. §ee Ex. 1, Treaty, Annex. Art. 7. In this case, Portugal
has not requested that the United States treat its request and the
execution of its request as confidential.

Section 3512 authorizes use of compulsory process in the
execution of treaty requests comparable or similar to that used in
domestic criminal investigations or prosecutions. Because subpoenas
utilized in U.S. criminal proceedings (i.e., grand jury and criminal
trial subpoenas) are issued without notice to any party other than
the recipients (i.e., no notice to targets or defendants), orders and
commissioner’s subpoenas issued in execution of treaty requests
pursuant to Section 3512 and the applicable treaty likewise should
require no notice other than to the recipients. In the absence of a
specific request to provide notice, a district court and United

States authorities can assume that a requesting foreign authority has

11

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 17 of 36 Page |D #:18

provided such notice as the foreign law requires, or that foreign law
does not require notice and the requesting foreign authority does not
consider notice to be necessary or useful. Accordingly, a federal
district court should authorize a commissioner to collect the
evidence requested without notice to any party other than the
recipient of the commissioner’s subpoena except to the extent that a
request asks for specific notice procedures.
d. Right to Financial Privacy Act

The Right to Financial Privacy Act, 12 U.S.C; §§ 3401 et seq.,
does not apply to execution of foreign legal assistance requests.
Young v. U.S. Dep’t. of Justice, 882 F.2d 633, 639 (2d Cir. 1989); §§
re Letter of Request for Judicial Assistance from the Tribunal Civil
de Port~Au-Prince, Republic of Haiti, 669 F. Supp. 403, 407 (S.D.
Fla. 1987); In re Letters of Request from the Supreme Court of Hong
§Qng, 821 F. Supp. 204, 211 (S.D.N.Y. 1993). Consequently, to the
extent that execution of a request entails production of bank or
financial records, notice provisions of the Act do not apply, and the
commissioner need not give, nor arrange for the custodian of records
to give, notice to an account holder.4
III. CONCLUSION

For the reasons stated above, the United States respectfully
requests that this Court issue an order in the form lodged separately
herewith appointing Assistant United States Attorney John J. Lulejian
as a Commissioner to execute portions of the Request, and authorizing

said Commissioner to take such actions as are necessary to comply

 

4 The Act itself applies only to accounts maintained in a
person’s name and not to corporate, perhaps even partnership,
accounts. United States v. Daccarett, 6 F.3d 37, 50-52 (2d Cir.

1993).
12

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 18 of 36 Page |D #:19

with the Request, including the issuance of compulsory process in the
form of Commissioner’s orders or subpoenas, the administration of

oaths to witnesses, and the taking of sworn testimony.

13

 

Case 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 19 of 36 Page |D #:20

EXHIBIT 1

.»-`
t~ §

Case 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 20 of 36

 

 

Instrument between the United States of America and the Portuguese Republic
as contemplated by Artiele 3(3) of the Agreement on Mutual Legal Assistance
between
the United States ofonerica and the European Union signed 25 ere 2003

l. ~ As contemplated by Artiole 3(3) of the Agreement on Mutual Legal Assistanee
between the United States of America and the European Union signed 25 lime 2003
(hereatter "the U.S.~EU Mutual Legal Assistance Agreernent"), the Governments of the
United States of Ainerica and of the Portuguese Repnblic acknowledge that, in
accordance with the provisions of this lnstrurnent, the U.S.~EU Mutual Legal Assistance
Agreement is applied between them under the following terms:

(a) (i) Ar|;icle 4 of the U.S.~EU Mutual Legal Assistance Agreement as set forth in
Article l of the Annex to this Instrument shall govern the identiiication of
JEnancial accounts and transactions

(ii) Pursuant to Artiole 4(3) of the U.S.~EU Mutual Legal Assistanee Agreement,
requests for assistance under this Artiele shall be transmitted between, for the
Portuguese Republic the Procuradon’a Geral da Rept’iblioa, and for the United
States of America the attache responsible for Portugal of the:

~ U.S. Deparlinent of Justice, Drug Enforceznent Administration, with
respect to matters within its jurisdiction;

~ U.S. Departrnent of Homeland Security, Bureau of lmmigration and
Customs anorcement, with respect to matters Within its jurisdiction;

~ U.S. Departrnent of Justice, Federal Bureau of lnvestigation, with
respect to all other matters

(iii) Pursuant to Article 4(4) of the U.S.~EU Mutual Legal Assistance Agreement,
the Portuguese Republie shall provide assistance with respect to organized crime,
money laundering, drug trafficking and terrorist activity, punishable under the
laws of both the requesting and requested States, and with respect to such other
criminal activity as the Portuguese Republic may notify the United States of
Amer:ica. The United States of Arnerioa shall provide assistance with respect to
money laundering and terrorist activity punishable under the laws of both the
requesting and requested States, and With respect to such other criminal activity as
the United States of Arnerica may notify the Portuguese Republic,

(b) Article 5 of the U.S.~EU Mutual Legal Assistance Agreement as set forth in
Article 2 of the Anoex to this instrument shall govern the formation and activities

of joint investigative teams;

(c) Artiele 6 of the U.S.»EU Mutual Legal Assistance Agreement as set forth in
Alticle 3 of the Annex to this lnstrument shall govern the taking of testimony of a
person located in the requested State- by use of video transmission technology

between the requesting and requested States;

(d) Artiele 7 of the U,S.-EU~ Mutual Legal Assistance Agreement as set forth in
Article 4 of the Annex to this Instrument shall govern the use of expedited means
of oommunieation;

 

 

 

 

 

 

 

Page |D #:21

l

x
x
l

 

 

Case 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 21 of 36 ‘Page |D #:22

 

 

(e) (i) Article 8 of the U.S.»BU Mutual Legal Assistance Agreement as set forth in
Article 5 of the Annex to this Instrurnent shall govern the providing of mutual
legal assistance to the administrative authorities concerned;

(ii) Pursuant to Article 8(2)(b) of the U.S.*EU Mutual Legal Assistance
Agreement, requests for assistance under this Article shall be transmitted between
the United States Department of Justice and the Procuradoria Geral de Repl’lblica,
or between such other authorities as may be agreed by the Department of Justioe
and Procuradoria Geral da Republica

(i) Article 9 of the U.S.~EU Mutual Legal Assistance Agreexnent as set forth in
Article 6 of the AnneX to this lnst:rurnent shall govern the limitation on use of
information or evidence provided to the requesting State, and governing the
conditioning or refusal of assistance on data protection grounds;

(g) Article 10 of the U,S.~EU Mutual liegal Assistance Agreement as set forth in
Article 7 of the Annex to this histrument shall govern the circumstances under
which a requesting State may seek the confidentiality cf its request;

(h) Article 13 of the U.S.~EU Mutual Legal Assistance Agreement as set forth in
Article 8 of the Aunex to this lnstrumeut shall govern the invocation by the
requested State of grounds for refusal

2. The Annex reflects the provisions of the U.S,-BU Mutual Legal Assistance
Agreement that shall apply between the United States of America and the Portuguese
Republic upon entry into force of this Instrument.

3. in accordance with A`rrici@ 12 of the U.s.~EU Muma legal Assisemce
Agreement, this lnstrument shall apply to offenses committed before as well as after it
enters into force

4. This lnstrument shall not apply to requests made prior to its entry into force;
except that, in accordance with Article 12 of the U.S.~EU Mutual Legal As$istance
Agreeruent, Articles 3 and 4 of the Annex shall be applicable to requests made prior to
Such entry into force.

5. (a) This Instrurnent shall be subject to completion by the United States of Arnerica
and the Portuguese Republic of their respective applicable internal procedures
for entry into force The Govemments of the United States ot` Arnerica and of
the Portuguese Republic shall thereupon exchange instruments indicating that
such measures have been completed This Instrument shall enter into force on
the date of entry into force of the U.S.-EU Mutual Legal Assistance Agreement.

(b) ln the event of termination of the U.S.-EU Mutual Legal Assistance Agreement,
this lnstrument shall be terminated

 

 

 

 

 

 

 

 

 

Case 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 22 of 36 Page |D #:23

 

 

 

IN WITNESS WHEREOF, the undersigned, being duly authorized by their respective >
Governments, have signed this lnstrunrent.

l
DONE at Washington, in duplicate, this _lj:!/ day of lilly 2005, in the Engh'sh and
Portuguese languages, both texts being equally authentic

FOR 'IHE UNI'I"ED STA'l`ES OF FOR THE PORTUGUBSE REPUBLIC:
Al\/IERICA:

@st@” WW=

UJ

 

 

 

 

 

 

 

 

Case 2:19-cm-0010_8-UA Document 2 Filed 01/25/19 Page 23 of 36 Page |D #:24

 

 

AN`NEX

Article 1
Identification of bank information

l (a) Upon request of the requesting State, the requested State shall, in accordance
With the terms of this Articlc, promptly ascertain if the banks located in its
territory possess information on Wliether an identified natural or legal person
suspected of or charged with a criminal offense is the holder of a bank account
or accounts 'l`he requested State shall promptly communicate the results of its
enquiries to the requesting State.

(b) The actions described in subparagraph (a) may also be taken for the purpose of
identifying

(i) information regarding natural or legal persons convicted of or otherwise
involved in a criminal offense;

(ii) information in the possession of non~banlc financial instinitions; or

(iii) tinancial transactions unrelated to accounts

2. A request for information described in paragraph l of this Article shall include: ` j

(a) the identity of the natural or legal person relevant to locating such accounts or
transactions;

(\ , (b) sufficient information to enable the competent authority of the requested State
""" to: §

(i) reasonably suspect that the natural or legal person concerned has
engaged in a criminal offense and that banks or non~banl< financial
institutions in the territory of,the requested State may have the

information requested; and
(ii) conclude that the information sought relates to the criminal investigation

or proceeding and

(c) to the extent possible, information concerning which bank or non-bank financial
institution may be involved, and other information the availability of Which may
aid in reducing the breadth of the enquiry.

3. Unless subsequently modified by exchange of diploman notes between the
Buropean Union and the United States of Ainerica, requests for assistance under d
this Article shall be transmitted between: ~ §

(a) for the Portuguese Republic, the Procuradoria Geral da Rep\'rblica, and
(b) For the United States of America, the attache responsible for Portugal of the:

(i) U.S. Department of Justice, Drug anorcement Adrninistration, With
respect to matters within its jurisdiction;

4 .

 

 

 

 

 

 

 

#_L__",__M_Qase 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 24 of 36 Page |D #:25

 

 

 

 

(ii) U.S. Department of Homeland Security, Bureau of lmmigration and
Customs Enforcement, With respect to matters Within its jurisdiction;

(iii)U.S. Departrnent of Justice, Federal Bureau of investigation With
respect to all other matters

The Portuguese Republic shall provide assistance under this Article with respect
to organized crime, money laundering, drug trafficking7 and terrorist activity,
punishable under the laws of both the requesting and requested States, and with
respect to such other criminal activity as the Portuguese Republic may notify the
United States of America. The United States of America shall provide
assistance under this Article with respect to money laundering and terrorist
activity punishable under the laws of both the requesting and requested States,
and with respect to such other criminal activity as the United States of America
may notify the Portuguese Repubh`c.

Assistance may not be refused under this Article on grounds of bank secrecy.

The requested State shall respond to a request for production of the records
concerning the accounts or transactions identified pursuant to this Article in
accordance with the requirements of its domestic law`

Article 2
Joint investigative teams

Joint investigative teams may be established and operated in the respective
territories of the United States of America and Portugal for the purpose of
facilitating criminal investigations or prosecutions involving the United States of
America and one or more Mernber States oi` the European Union where deemed
appropriate by the United States of America and the Portuguese Republic.

The procedures under Which the team is to operate, such as its composition,
duration, location, organization, functions, purpose, and terms of participation of
team members of a State in investigative activities taking place in another
State°s territory shall be as agreed between the competent authorities responsible
for the investigation or prosecution of criminal offenses, as determined by the
respective States concerned '

'Ihc competent authorities determined by the respective States concerned shall
communicate directly for the purposes of the establishment and operation of
such team except that Where the exceptional complexity, broad scope, or other
circumstances involved are deemed to require more central coordination as to
some or all aspects, the States may agree upon other appropriate channels of
communications to that end. ‘

Where the joint investigative team needs investigative measures to be taken in
one of the States setting up the team, a member of the team of that State may
request its own competent authorities to take those measures without the other
States having to submit a request for mutual legal assistance The required legal

' standard for obtainingthe measure in that State shall be the standard applicable

to its domestic investigative activities
5

 

 

 

 

 

 

"(`>

f.”`)

_Qa_§_e 2:19-cm-00108-UA D_ocument 2 Filed 01/25/19 Page 25 of 36 Page |D #:26

 

 

Al'ticle 3
Video conferencing

l. The use of video transmission technology shall be available between the United
States of America and the Portuguese Repuhlic for taking testimony in a
proceeding for Which mutual legal assistance is available of a witness or expert
located in a requested State. To the extent not specifically set forth in this
Article, the modelities governing such procedure shall be as otherwise provided
under the law of the requested State.

2. Unless otherwise agreed by the requesting and requested States, the requesting
State shall bear the costs associated with establishing and servicing the video
transmission Other costs arising in the course of providing assistance (including
costs associated with travel of participants in the requested State) shall be borne
as agreed upon by the requesting and requested States.

3. The requesting and requested States may consult in order to facilitate resolution
of legal, technical or logistical issues that may arise in the execution ‘of the

request

4. Without prejudice to any jurisdiction under the law of the requesting State,
making an intentionally false statement or other misconduct of the Witness or
expert during the course of the video conference shall be punishable in the
requested State in the same manner as if it had been committed in the course of

its domestic proceedings

5. This Article is Without prejudice to the use of other means for obtaining of
testimony in the requested State available under applicable treaty or law.

6. The requested State may permit the use of video conferencing technology for
purposes other than those described in paragraph l of this Article, including for
purposes of identification of persons or objects, or taking of investigative
Statements.

Article 4
Expedited transmission cf requests

Requests for mutual legal assistance, and communications related thereto, may
be made by expedited means of communications, including tax or e~mail, With formal _
continuation to follow Wherc required by the requested State. 'l` he requested State may q
respond to the request by any such expedited means of communication

y Ai‘ticle 5
Mutual legal assistance to administrative authorities

l, Mutual legal assistance shall also be afforded to a national administrative
authority, investigating conduct with a view to a criminal prosecution of the
conduct or referral of the conduct to criminal investigation or prosecution x

6

 

 

 

 

 

 

 

 

_,.~».

’ \

Case 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 26 of 36 Page |D #:27

 

 

 

 

(a)
(b)
CC)
(d)

(@)

2. (a)

(b)

LL)

authorities, pursuant to its speei§c administrative or regulatory authority to
undertake such investigation Mutual legal assistance may also be afforded to
other administrative authorities under such circumstances Assistance shall not
be available for matters in which the administrative authority anticipates that no
prosecution or referral, as applicable, Will take place

Requests for assistance under this article shall be transmitted between the United
States Department of Justice and the Procuradoria Geral da Repr'iblica, or
between such other authorities as may be agreed by the Departrnent of Justice
and Procuradoria Geral da Repi'iblica.

. Article 6
Limitations on use to protect personal and other data

The requesting State may use any evidence or information obtained from the
requested State:

for the purpose of its criminal investigations and proceedings ;

for preventing an immediate and serious threat to its public security;

in its non»criminal judicial or administrative proceedings directly related to
investigations or proceedings

(i) set forth in subparagraph (a); or

(ii) for Which mutual legal assistance Was rendered under Article 5 of this
Annex; '

for any other purpose, if the information or evidence has been made public
within the framework of proceedings for Which they Were transmitted or in any
of the situations described in subparagraphs (a), (b) and (c); and

for any other purpose, only with the prior consent of the requested State.

This Article shall not prejudice the ability of the requested State to impose
additional conditions in a particular case Wllere the particular request for
assistance could not be complied With in the absence of such conditions Where
additional conditions have been imposed in accordance with this subparagraph
the requested State may require the requesting State to give information on the
use made of the evidence or information

Generic restrictions with respect to the legal standards of the requesting State for
processing personal data may not be imposed by the requested State as a
condition under subparagraph (a) to providing evidence or information

Where, following disclosure to the requesting State, the requested State becomes
aware of circumstances that may cause it to seek an additional condition in a
particular case, the requested State may consult with the requesting State to
determine the extent to which the evidence and information can be protected

Article 7
Requesting State’s request for confidentiality

The requested State shall use its best efforts to keep conhdential a request and

its contents if such confidentiality is requested by the requesting State. lf the request

7

 

 

 

 

 

 

 

 

 

 

cannot be executed without breaching the requested conjidentiality, the central authority
of the requested State (in the ease of the United States of Amerioa, the Ur\.ited States
Department of Justice, and in the case of the Pormguese Republic, the Procuradoria
Geral da Repl’lblica) shall so inform the requesting State, Which shall then determine
whether the request should nevertheless be executed

Article 8
Refusal of assistance

Subject to A.rticle 1(5) and 6(2)(b) of this Annex, the provisions of this Aunex
are without prejudice to the invocation by the requested State of grounds for refusal of
assistance available pursuant to its applicable legal principles, including Where
execution of the request Would prejudice its sovei'eignty, security, ordre public 01~ other
essential interests

 

 

 

 

C§\Se 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 27 of 36 que |D #:28

 

 

Case 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 28 of 36 Pege |D #:29

 

 

Inst'rumento entre os Estados Unidos da América e a Repl'lblica Portuguesa conforme
f_-\`_ n° 3 do artigo 3° do Acordo entre a Uni'?\o Europeia e o Estados Unidos da América
‘- ,,.' sobre auxilio Judiciério Mn'xtuo assinado a 25 de Junho de 2003

1. Em eonformidade com o disposto no h° 3 do artlgo 3° do Acordo entre a Uniz”zo
Europeia e os Estados Unidos da América sobre Auxilio Judiciério Ml'ituo assinado a 25 de
Junho de 2003 (doravante “Aeordo UE~EUA sobre Auxilio Judiciério Mi’ituo”), os Estados
Unidos da Amérioa e a Repilblica Portuguesa reconhecem que, de aeordo com as
disposieoes deste Instrumento, o Acordo UE-EUA sobre Auxilio Judiciério Mt'ltuo, se
aplioa entre eles, de acordo com os seguintes termos:

(a) (i) O artigo 4° do Acordo UE¢EUA sobre Auxi'h`o Judieiério Ml'ltuo, tal como previsto
no artigo 1° do Anexo a este hastrumente, regular a identiiiceg:éto de eontas e transacooes
tinanoeiras;

(ii) Nos tennos do n° 3 do attigo 4 do Acordo UB~EUA sobre Auxflio Judiolé.rio
Mt'ttuo, os pedidos de auxilio ao abrigo deste artigo devem ser transmitidos entre,
relativamente 51 Rep\flbliea Pox'tuguesa, a Proouradoria Geral da Rep\'lb!iea, e relativamente
aos Estados Um'dos da América, o Att'ache’ responsé.vel para Portugal do

- Departamento de Justi<;a dos Estados Unidos, Departamento e InVestigaeio e
Tréfego de Estupefaoientes, nas materials da sua competénoia;

~ Departamento de Assuntos lntemos e Seguran<;a, Departamento de Imigrag:io e
Alfandegas, nas materials de sua competencia;

~ Departamento de Justig:a des Estados Unidos, Departamento Federal de
lnvestigag§o, nas restautes materias.

(iii) Nos termos do n° 4 do artigo 4° do Acordo UE-EUA sobre Auxi’h'o Iudiciério
{A"; Mt’ltuo a Rept'lblice Portuguesa deve prestar auxilio, relati\'amente a actividades de crime
""' organizedo, branqueamento de capitais, tré.t`ico de droga e tenorismo, puniveis de acordo
com as lei de ambos os Estados requerente e requerido e relativamente a quaisquer outras
actividades oriminosas que a Repl’lbliea Portuguesa notltique os Estados Unidos cia
Amériea;

Os Estacios Unidos da Amériea devem prestar auxilio relativarnente a aetividades de
branqueamento de eapitais e tenorismo, puniveis de aeordo com as lei de ambos os Estados
requerente e requerldo, e relativamente a quaisquer outras aetividades oriminosas de que os
Estados Unidos da Améz“ica notifiquem a Rep\'ibliea Portuguesa.

(b) O altigo 5° do Acordo UE-EUA sobre Auxi'lio Judiciério Miltuo, tai come previsto no
artng 2° do Anexo a este lnstmmento, regula a forma<;§o e aetividades de equipas de
investigae§o conjuntas;

(c) 0 artigo 6° do Aeordo UE-EUA sobre Auxflio Judloiério Mtltuo, tai come previsto no
artigo 3° do Anexo a este lnstnnnento, regula a prestae§o de testemunho de uma pessoa
localizada no Estado requerido através da utilizae§o da teonologia da transmiss&o por video
entre o Estado requerente e o Estado requerido;

 

 

 

 

 

 

 

 

Case 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 29 of 36 Pege |D #:30

 

 

 

(d) 0 artigo 7° do Aoordo UE~EUA sobre Al.lxl'lio Judiciério Mt’ltuo, tal come previsto no
artigo 4° do Anexo a este Instrumento, regula o uso de meios expeditos de comunioae§o;

(e) (i) O arligo 8° do Acordo~UE*EUA sobre Awdlio Judicién`o M\'ituo, tal oomo previsto
no migo 5° do Anexo a este lusttumento, regula a presta¢;§o de auxilio judiciério mutuo 513
autoiidades administrativas interessadas;

(ii) Nos termos da alinea b) do n° 2 do artigo 8 do Acordo UE-EUA sobre Auxilio
Jndiciério Ml’ltuo, os pedidos de auxilio judicizlrio apresentados ao abrigo do presente
migo, devem ser transmiticios entre a Proeuradoria Geral de Repl'lblica e o Departamen’co
de Justioa des Estados Unidos, ou entre outras autoridades que a Proeuradoria Geral da
Repl’lblica e 0 Departarnento de Justig:a dos Estados Unidos tenham designado de comum
acordo. `

(i) 0 artigo 9° do Acordo UE~EUA sobre Auxilio Judiciério Mt'ttuo, tel come previsto no
artigo 6° do Anexo a este Instc'umento, regula a limitag:§o do uso de infoimaoc")es ou proves
fomeeidas ao Estaclo requerente e a presta<;'zlo condicional ou a recuse de intestang de
auxilio por motives relacionados com a protece§o de dados;

(g) O migo l~O° do Acordo UE-EUA sobre Au)dlio Judiciério Mutuo, tel come previsto no
attng 7° do Anexo a este lnstrumento, regula as oircunst§ncias em que o Estado requerente
pode solicitar a confidencialidade do pedido;

(h) 0 artigo 13° do Acordo UE”EUA sobre Auxilio Judicia'.rio Ml'ltuo, tel oomo previsto no
artigo 8° do Anexo a este Instrumento, regula a invocaee”io pelo Estado requerido de
motives de reensa. ~

2. 0 Anexo reflecte as disposiot“)es do Acordo UE~EUA sobre Auxilio Judiciério Mtltuo
apiioéveis entre a Rept'tbliea Portuguesa e os Estados Unidos da Ameriea apés a entrada em
Vigor deste Instrumento.

3. Nos termos do artng 12° do Aeordo UE~EUA sobre Auxl'lio Judicién`o Mutuo este
Instmmento é eplicével eis infraches oometldas antes e depois da sua entredzt em vigor.

4. Este lustrun:\ento n§o é aplicével aos pedidos de auxilio apresentados antes de Sua
entrada em vigor; todavia, nos tennos do artng 12° do Acordo UE~EUA score A_uxilio
Judiciério Ml'zt‘uo, os artigos 3° e 4° do Anexo 550 aplic~é.veis aos pedidos de auxilio
apresentaclos notes dessa entrada em vigor. '

5. (a) Este Instrumento esté snjeito ao cumprimento pela Rept’lblica Poxtuguesa e pelo
Estados Unidos cia Arnérioa das respectivas fomalidades internas aplicéveis para a sua
enti'ada em vigor. Os Governos da Repi’iblica Portuguesa e rios Estados Unidos da Ame’rica
em seguida trocar§o instiumentos declarando que tal prooedimento foi conolui'do. Este
Instrumento entre em vigor na data da entrada em Vigor do Acordo UE-EUA sobre Auxilio
Jucliciério M\ituo. ~

(b) No case de cessae§o do Acoi'do UE»EUA sobre Auxflio Jud_iciério Miltuo este
Instrumento cesse

 

 

 

 

 

 

 

Cese 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 30 of 36 Page |D #:31

 

 

 

EM FE DO QUE, os abaixo essinados, devidamente autorizados pelos respectivos
Governos, assinaram este lnstrumento,

Feito em Washington DC, no 14° dia do més de Julho do ano de 2005, em dois exemplares,
nas linguas Portuguesa e Inglesa, fazendo fe qualquer des textos.

Pelos F,stados Unidos da Amérioa Pela Repl'iblica Portuguesa

/ QAWMW

 

 

 

 

 

 

 

Case 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 31 of 36 Page |D #:32

 

 

ANEXO

Artigo 1°
Identificag:§o de Informa§io bancaria

I. a) A pedido do Estado requerente, o Estado requerido deve, nos termos do presente
artigo, determinar rapidarnente se os bancos localizados no seu territon'o possuem
infonnag;c”)es sobre a titularidade de uma ou mats contas bancérias per uma detenninada
pessoa singular ou coleotiva identificada, suspeita ou aeusada da prétiea de nina infrace§o
penal. O Estado requen`do deve oomunicar i'apidamente ao Estado requerente os resultados
das averiguago‘es efectuadas.

b) As medidas a que se refere a alinea a) tamber'n podem ser tomadas para efeitos de
identificagao dec '
i) infonnae§es relatives a pessoas singulares ou coleotivas condenadas ou de outro
modo envolvidas na pratica de uma infraceao penal,
ii) informao<'jes na posse de institul§:§es iinanceiras 1150 bancérias, ou
iii) transacg<“)es financeiras n§o relacionadas com eontas bancélias.

2. Os pedidos de informaeao a que se refere o n.ol devem eonter:
a) A identidade da pessoa singular ou colectlva relevante para a localizaeao das referidas

eontas ou transaceoes; e

b) Elementos bastantes para permitir a antoridade competente do Estado requerldo:

i) ter motives fundados para suspeitar que a pessoa singular ou eoleetiva em questao esta
envolvida na prética de luna innacg§o penal`e que os baneos ou as instituief“)es iinanceiras
nao bancél‘ias no ten~itério do Estado requerido podem possuir a informag:ao soh'eitada; e

ii) concluir que as informaeoes pretendidas se relacionam com a investigao§o ou 0
processo penal;

e) Na medida do possivel, informa§c")es sobre os banoos ou instituieoes fmanoeiras nao
banearias eventualmente envolvidos bern come outras informagoes cuja disponibilidade
possa contribuir para oirounserever 0 ambito das averignaec")es.

3. A nao ser que subsequentemente modifioado per troca de notes diplomaticas entre a

Uni§o Europeia e os Estados Unidos da América, os pedidos de auxilio apresentados nos

tennos do presente artigo devern ser transmitidos entre:

a) relativamente` a Republioa Poi'tuguesa, a Proeucadoria Geral da Rept'iblica;

b) relativamente aes Bstados Unidos da Ame'rica, o Attache’ responsavel para Portugal do:

(i) Depaitamento de Justiga des Estados Un_idos Departamento e Investigaeao e
Tréfego de Estupefaeientes, ms materias da sua competénoia;

(ii) Departamento de Assuntos Internos e Seguranea, Departamento de lmigraoao e
Alfandegas, nas materials da sua competeneia;

(iii) Departaniento de Justioa dos Estados Unidos, Departamento Federal de
.lnvestigaoao, nas restantes materias.

 

 

 

 

 

 

 

 

Case 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 32 of 36 Page |D #:33

 

 

 

4. A Republica Portuguesa cleve prestar auxilio, nos tennos deste artigo, relativamente a
actividades de crime organizado, branqueamento de capitais, trat`ieo de droga e terrorismo,
puniveis de acordo com as lei de ambos os Estados requerente e requerido, e relativamente
a quaisqner outras aetividades eriminosas que a Repl’lbliea Portuguesa notinque os Estados
Unidos cia América;

Os Estados Unidos da Amérioa devem prestar auxilio, nos termos deste ari:igo,
relativamente a actividades de branqueamento de capitais e terrorismo, puniveis de acordo
com as lei de ambos os Estados requerente e requerido, e relativamente a quaisquer outras
actividades criminosas de que os Estados Unidos cia Arnérioa notiliquem a Rep&blica
Portuguesa.

5. 0 auxilio nos termos do presente artigo nao pode ser reousado corn fundamento no
sigilo bancario.

6, 0 Estado requerido cleve responder a um pedido de apresentaeao dos registos
relatives as eontas ou transaeooes identificadas, nos tennos deste artigo, em conformidade
com os requisites da sua lei interna.

Artigo 2
Equi`pas de investiga¢§o conjuntas

l. P.odem ser eriadas e funoionar nos territorios respectivos de Portugai e des Estados
Unidos da Amérioa equipas de investigaeao conjuntas, a tim de facilitar as investigaec”)es ou
os procedimentos penais que envolvarn um ou mais Estados~Membros da Uni§o Europeia e
os Estados Unidos da América, quando a Republioa Portuguesa e os Estados Unidos da
América 0 considerem et;)nvenienteA

2. As disposi§oes a que cleve obedecer o fnnoionamento des equipas, designadarnente
em materia de composieao, duraoao looalizaeao, organizaeao, iiineoes fins e termos da
participaoao tie membros da equipa de um Esta'do nas actividades de investigacao que térn
lugai no territorio de outro Estado, devem ser acordadas entre as autoridades competentes
respousaveis pela investigaeao das infrac<;oes penais e pela promooao da aoe§o penal tel

come determinadas pelos respectivos Estados interessados.

3. As autoridacles conipetentes determinadas pelos respectivos Estados interessados
devem eomunicar directatnente entre si para fins de eriaeao e funoionamento dessas
equipas exoepto quando se considere que a exoepeional complexidade ou a grande
amplitude do étnl)ito des investigacoes ou outias eirounst§.noias exigem uma major
cooidenaeao a nivel central em relaeao`~ a parte ou a totalidade des aspeotos das
investigaeoes, podendo neste ease os Estadds ucordar em utilizar outros eanais de

comunioag>ao para esse tim

Ul

 

 

 

 

 

 

113

Case 2:19-cm-001_08-UA Document 2 Filed 01/25/19 Page 33 of 36 Page |D #:34

 

 

 

4. Quando a equipa de investigag§o conjunta tiver necessidade de que sejam tomadas
medidas de investiga<;ao nom des Estados que participam 11a criaeao da equipa, um memer
da equipa originério desse Estado pode solicitar as sues préprias autoridades competentes
que tomem essas medidas, sem que 03 outros Estados tenham de apresentar um pedido de
auxilio judiciario mutuo. 0 criterio legal a aplicar para a obtenc;§o de medjda neese Estado
deve ser o criterio aplicz'lvel as actividades de investigaeao anive! nacional.

/

Artigo 3

Videuconferéncia

l. A utiliza§:§o de tecnologia de transmissao per video deve ester dispom’vel entre a
Repl'lblica Portuguesa e 03 Estados Unidos da América para a recolha de depoimentos, no
quadro de um processo no qual seja facultado auxilio judieiério mutuc), de testemunhas 011
peritos situados 110 Estado requerido. Na medida em que 0 presente erng 1150 contenha
disposig:<”)es espeeiticas a esse respeito, as regras a 'que deve obedecer o referido
procedimento 550 as previstas ina lei do Esiado requerido.

2. Salvo acordo em confrério entre os Estados requerente e requerido, 0 Estado
requerente dave suportar os custos merentes ao estabelecimento e a realizaeao da
transmissao per video. Os outros custos decorrentes da presta<;ZQ de auxilio (iucluindo os
custos ineremes as desloca§§es de participantes 110 Estado requerid<)) see suportados

consoante 0 que for acordado pelos Estados requerente e requerido.

3. Os Estados requerente e requerido podem concertar-se para facilitar a resolue§o das
quest<”)es juridicas, téenicas 011 logisticas que possam ser suscitadas pela execue§.o do
pedido.

4. Sem prejufzo de quaisquer competéneias previstas na lei do Estado requeren'ce, a
produe§o de deelaraec”)es intencionalmente fal‘sas ou outra conduta i}ieita de testemunhas ou
peritos durante a videoconferéncia deve ser punivel 110 Estado requerido de forma identical
a que ocorreria se a mesma condura se verificasse ne quadro de um processo nacional

5. 0 presente artigo 1150 prejudice a utilizag§o de outros meios de recolha de
depoimentos 110 Estado requerido disp<)m’veis nos termos de tratado 011 de 1e`1 aplicavel.

6. O Estado requerido pode permitir a utiliza<;ao de teonologia de videoeonferéncia
para fins diversos des referidos 110 n.c 1 deste artng, incluindo tins de identificag:§o de
pessoas ou objectos, ou de recolha de depoimentos 110 quadro de investigag:§es.

 

 

 

 

 

 

 

 

Case 2:19-cm-001Q8,,-,UA Document 2 Filed 01/25/19 Page 34 of 36 Page |D #:35

 

 

Artigo 4
Transmiss§o de pedidos per meios expeditos

Os pedidos de auxilio judiciario mutuo e as commaca<;c“)es com eles relaclonadas podem
efectuar~se per meios expeditos de comunicaeao, ineluindo 0 fax ou 0 correio electrém`co,
com confirmag>ao formal subsequente nos cases em que tal seja solicitado pelo Estado
requerido. 0 Bstado fequerldo pode responder ao pedido per qualquer dos refericlos meios
expeditos de eomunicagao.

Artige 5
Prestae§o'de auxilio judiciario m\’ztuo as autoridad_es administrativas

1. E igualmente prestado auxilio judiciario a ama autoridade administrative que esteja a
investigar detenninacla conduta para fins da correspondente ac§ao penal 011 para remessa do
processo relative a essa conduta as autoridades responséveis pela mvestigaeao ou pela
promoezlo da ace§o penal por forga de uma autoridade especiiica, de natureza
administrative ou regulamentar, de que disponha para efeetuar essas investigagc")es. Pode
igualmente ser prestado amu'lio judiciario a outras autoridades administrativas nessas
eircunst§neias. Nao sara prestado auxilio judiciério em materias relativamente as queis a
autoridade administrativa preveja que mae havera lugar a processo penal 011 a remessa de
qualquer processo, censoante 0 caso. '

2. Os pedidos de auxilio judiciério apresentados ao abrng do presente artng devem ser .
transmitidos entre a Procuradoria Geral da Republica e 0 Departamento de Justiea des ;
Estados Unidos, 011 entre ouu'as autoridades que a Procuradorla Geral da Republica e 0
Departalnento de Justi<;a des Estados Unidos tenham designado de comum aeorclo.

 

 

 

 

 

 

 

 

\f“"`;

/_,.-

\.

Case 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 35 of 36 Page |D #:36

 

 

Artigo 6
Limita<;(“)es de utilizans para protect-ao de dados pessoais e eutros

1. 0 Estado requerente pode utilizar quaisquer proves ou infermae<")es transmitidas
pele Estado requen'do:
a) Para fms de investigac;ees e processes penais;
b) Para prevenir ameaeas graves e imediatas a sua seguranea publica;
e) Nes seus processes judiciais ou administratives de natureza 1150 penal directamente
relaeionades com as investigaec'§es ou precessos:
1') a que se refers a alinea a), ou '
ii) para es quais fei prestade auxlljo judiclério nos termos de artige 5 deste anexo;
d) Para quaisquer outres ins, se as infennag:e'es ou provas tiverem side tornadas .
publicas no quadre do precesso para 0 qual foram transndtidas, ou em qualquer das
situaeees a que se referem as dweas a), b) e c); e .
e) Para quaisquer eutros fins, apenas com e consentimemo prévi<) de Estado
requerldo. '

2. a) 0 presente artige 1150 prejudice a possibilidade de 0 Estado requeride impor
condig?)es adicionais em cases especifrces, quando 1150 seja pessivel ateuder a um
determiuade pedido 11a falta dessas condieees. Quando tenham side impostas
condieees adieionais ao abrige da presente alinea, 0 Esta<lo requerido pede solicitar
ao Estade zequerente que preste infermagc")es sobre a utiliza<;§e dade as proves ou
infermaeees.

b) O. Estade requerido mae pode impor limitag:c")es genericas relativamente as
normas legais do Estade requerente aplicaveis ae trafamento de dades pessoals come
cendieae para o fernecimento de provas eu infermaec”)es nos termos da alinea a).

3. Quande, apés a divulgae§e ae Estade requerente, 0 Estado requeride tomar
cenhecimente da existéneia de circumstancias que 0 pedera'e levar a selicitar a
aplicae§o de uma condieao adicional nom ease particular, 0 Estado requerido pede
consultar 0 Estado requerente para determinar em que »medida as provas e
informae<”jes pederilo ser pretegldas.

1111ng 7°
Pedido de eeniidencialidade do Estado requerente
O Estade requeride cleve envidar todos os esfor<,‘.es para manter a cenfidenclalidade de
um pedide e do sen centelido, se essa cen'iidenclalidade for solicitada pele Estaclo
requerente. Se 0 pedlde 1150 puder ser executade sam quebra da .eonildencialldade
solicitada, a autoridade central do Bstade requen'de.(ne ease da Repl'!bliea Portuguesa
a Procuradoria Geral da Repllblica e no case des Estados Unidos da América, 0
Departamento de Justiea des Estades Unides) cleve informar de facto 0 Estado
requerente, que detennjnara se 0 pedido dave ser, apesar de tude, executado.

 

 

 

 

 

 

 

Case 2:19-cm-00108-UA Document 2 Filed 01/25/19 Page 36 of 36 Page |D #:37

 

 

Artigo 8
Recnsa de auxilio

Seb reserve do 11.0 5 de artige 1.0 e da alinea b) do n.o 2 do artigo 6, do presente anexo,
as dispesi¢t“)es deste anexe 1150 obstam a que 0 Estade requen`de invoque motives de
recusa de auxilio cenformes com os principles juridicos aplicévels nesse Es“cade,
nemeadamente quanch a exeeueae de pedide posse prejudices a sua soberam'a, a sua
segurang:a, a sua ordem plibliea ou es seus interesses fundamentals

 

 

 

 

 

 

 

 

 

